         Case 4:12-cv-00645-BLW Document 1 Filed 12/31/12 Page 1 of 24




KEN NAGY (I.S.B. No. 6176)
ATTORNEY AT LAW
P.O. Box 164
Lewiston, Idaho 83501
Telephone: (208) 301-0126
Facsimile: (888) 291-3832
E-mail: knagy@lewiston.com

JESSICA MOSER (I.S.B. No. 8197)
ATTORNEY AT LAW
P.O. Box 9146
Moscow, Idaho 83843
Telephone: (208) 874-2058
Facsimile: (888) 291-3832
E-mail: jessicam@nezperce.org

ATTORNEYS FOR PLAINTIFF



                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF IDAHO

INTERMOUNTAIN FAIR HOUSING          )
                                                                 12-645
COUNCIL, INC.,                      )               CASE NO. CV __________________
                                    )
      Plaintiff,                    )               VERIFIED COMPLAINT AND
                                    )               DEMAND FOR JURY TRIAL
vs.                                 )
                                    )
MICHAEL’S MANOR, L.L.C. and         )
SHEILA ELAINE SHURTLIFF,            )
                                    )
      Defendants.                   )
____________________________________)

       COMES NOW the Plaintiff Intermountain Fair Housing Council, Inc. and for a cause of

action against the Defendants Michael’s Manor, L.L.C. and Sheila Elaine Shurtliff, states and

alleges as follows:
VERIFIED COMPLAINT AND                      1
DEMAND FOR JURY TRIAL                                                                KEN NAGY
                                                                                   JESSICA MOSER
                                                                                    Attorneys at Law
         Case 4:12-cv-00645-BLW Document 1 Filed 12/31/12 Page 2 of 24




                                   NATURE OF THE ACTION

       1. This is an action brought by the above-named Plaintiff for declaratory judgment,

permanent injunctive relief and damages on the following bases:

           a. Fair Housing Act, 42 U.S.C. §3601 et seq. (hereinafter “FHA”), and in particular:

               i. Discrimination in the sale or rental, or otherwise made unavailable, a dwelling

       because of “handicap”, 42 U.S.C. §3604(f);

               ii. Discriminatory terms, conditions or privileges in the sale or rental of a

       dwelling because of “handicap”, 42 U.S.C. §3604(f);

               iii. Refusal to make reasonable accommodations in rules, policies, practices, or

       services, when such accommodations may be necessary to afford a person equal

       opportunity to use and enjoy a dwelling, 42 U.S.C. §3604(f);

               iv. Making, printing or publishing a notice or statement with respect to the sale or

       rental of a dwelling that indicates a preference, limitation or discrimination based on

       “handicap”, 42 U.S.C. §3604(c); and

               v. Interference, coercion or intimidation, 42 U.S.C. §3617.

       b. Fair Housing Regulations, 24 C.F.R. §100 et seq.

       c. Negligence.

                                 JURISDICTION AND VENUE

       2. This Court has jurisdiction over this action pursuant to 42 U.S.C. §3613 and

28 U.S.C. §§1331, 1332, 1337, 1343, 1367 and 2201. The amount in controversy exceeds

$75,000 exclusive of interests and costs. Venue is proper in this District in that the claims

alleged herein arose in the City of Chubbuck, County of Bannock, State of Idaho.



VERIFIED COMPLAINT AND                       2
DEMAND FOR JURY TRIAL                                                                   KEN NAGY
                                                                                      JESSICA MOSER
                                                                                       Attorneys at Law
          Case 4:12-cv-00645-BLW Document 1 Filed 12/31/12 Page 3 of 24




                                              PARTIES

       3. The Plaintiff Intermountain Fair Housing Council, Inc. (hereinafter “the Plaintiff” or

“IFHC”) is a private, nonprofit organization organized under the laws of the State of Idaho with

its principal place of business at 350 North 9th Street, Suite M-100, Boise, Idaho 83702. Its

mission is to advance equal access to housing for all persons without regard to race, color, sex,

religion, national origin, familial status, or disability (the term “handicap”, as that term is used

and defined in the FHA, is used herein interchangeably with the term “disability”). The Plaintiff

serves housing consumers through, among other things, education on the fair housing laws and

assistance with complaints.

       4. The Defendant Michael’s Manor, L.L.C. (hereinafter “Defendant Michael’s Manor”),

is a business organized under the laws of the State of Idaho. Its principal place of business is 727

Moran Street, Chubbuck, Idaho 83202-1743. Said Defendant operates the Michael’s Manor

Apartments (hereinafter “the Subject Property”), a multifamily apartment complex which is the

real property that is the subject of this proceeding and which is located at 730 Swisher Road,

Pocatello, Idaho 83204. The Subject Property is composed of one two-story building containing

39 individual dwelling. The Certificate of Occupancy was issued with regards to the Subject

Property by Bannock County, Idaho on the 3rd day of September, 1995. The Subject Property is

a covered dwelling subject to the requirements of the FHA, as provided by 42 U.S.C. §3603.

       5. The Defendant Sheila Elaine Shurtliff (hereinafter “Defendant Shurtliff”) is the owner

of record of the Defendant Michael’s Manor and of the Subject Property. Her address of record

with regards to said property is 727 Moran Street, Chubbuck, Idaho 83202-1743.




VERIFIED COMPLAINT AND                         3
DEMAND FOR JURY TRIAL                                                                     KEN NAGY
                                                                                        JESSICA MOSER
                                                                                         Attorneys at Law
            Case 4:12-cv-00645-BLW Document 1 Filed 12/31/12 Page 4 of 24




                                   STANDING OF PLAINTIFF

       6. The Plaintiff has suffered damages as the result of the Defendants’ actions and

omissions, including the diversion of the Plaintiff’s past and future resources, lost economic

opportunity, and the frustration of the Plaintiff’s mission.

       7. The Plaintiff’s mission, as described above, has been frustrated by the Defendants’

practices because the Defendants’ violations of the FHA communicate to housing consumers and

housing providers that discriminatory practices are permissible and that correctional remedies are

not available, thereby hampering Plaintiff’s efforts to educate the public on fair housing issues

and to advance equal access to housing.

       8. The Plaintiff’s mission has further been frustrated as the Defendants’ violations of the

FHA have reduced the pool of non-discriminatory rental housing available to tenants in the State

of Idaho.

       9. In order to counteract the frustration of the Plaintiff’s mission, the Plaintiff has had to

devote significant resources to identify, investigate, document and take action to correct the

Defendants’ violations of the FHA, including but not limited to the incursion of litigation

expenses. As a result, the Plaintiff has actually diverted resources from other fair housing-

related activities, including fair housing education and enforcement activities throughout the

State of Idaho and the surrounding region. Furthermore, the Plaintiff will necessarily incur

additional expenses in the future to counteract the lingering effects of the Defendants’ violations

of the FHA through the monitoring of the Defendants’ activities, publication and advertising

costs, and the sponsorship of educational activities.

       10. As a direct result of the Defendants’ actions and omissions as described below, the

Plaintiff is an “aggrieved person”, as that term is defined by the FHA. 42 U.S.C. §3601(i). The

VERIFIED COMPLAINT AND                        4
DEMAND FOR JURY TRIAL                                                                    KEN NAGY
                                                                                       JESSICA MOSER
                                                                                        Attorneys at Law
           Case 4:12-cv-00645-BLW Document 1 Filed 12/31/12 Page 5 of 24




Plaintiff has suffered and continues to suffer significant and irreparable loss and injury, and has

sufficient standing to bring this action before this Court.

                                   GENERAL ALLEGATIONS

       11. The Plaintiff realleges and herein incorporates by reference the allegations set forth

in Paragraphs 1-10 above.

       12. L.H. is handicapped, as that term is defined at 42 U.S.C. §3602(h). As a result of

L.H.’s handicap, she requires the use of a support animal and requires reasonable

accommodations pursuant to the FHA to afford her equal opportunity to use and enjoy a

dwelling at the Subject Property (the words “handicap” and “disability” are used interchangeably

herein).

       13. L.H.’s support animal is a dog which has been prescribed by her treating physician as

treatment for her disability.

       14. In or about early May, 2011, L.H. was told by an employee of the Defendants that an

apartment at the Subject Property would be coming available in the near future and permitted her

to view the unit. L.H. submitted an application to rent the apartment located at the Subject

Property. On her application, L.H. indicated that she has a support animal for her disability.

       15. Subsequent to submitting her application to rent an apartment at the Subject

Property, L.H. contacted Andrew (last name currently unknown), the property manager for the

Subject Property, on or about the 17th day of May, 2011 to inquire about the status of her

application. Andrew (last name currently unknown) told L.H. that she would not be permitted to

rent an apartment at the Subject Property due to the presence of her support animal. L.H. told

Andrew (last name currently unknown) that she has a written prescription for her support animal

from her treating physician because of her disability. In response, Andrew (last name currently

VERIFIED COMPLAINT AND                        5
DEMAND FOR JURY TRIAL                                                                   KEN NAGY
                                                                                      JESSICA MOSER
                                                                                       Attorneys at Law
         Case 4:12-cv-00645-BLW Document 1 Filed 12/31/12 Page 6 of 24




unknown) told L.H. that it did not matter that she has a written prescription for her support

animal from her treating physician, she would not be permitted to rent the apartment for which

she applied.

       17. Approximately one week after submitting her application to rent an apartment at the

Subject Property, L.H. observed that the Defendants were advertising an apartment for rent at the

Subject Property. L.H. contacted Andrew (last name currently unknown) again to inquire with

regards to the status of her application. L.H. was again told by Andrew (last name currently

unknown) that she would not be permitted to rent the apartment at the Subject Property due to

the presence of her support animal.

       18. The denial of a dwelling to L.H. due to the presence of her support animal constitutes

a discriminatory policy in violation of the FHA and its implementing regulations on the basis of

handicap, and L.H. was denied a reasonable accommodation in violation of the FHA.

Furthermore, the Defendants have negligently failed to provide adequate training to their

property manager regarding the requirements of the FHA and its implementing regulations.

       19. As a result of the discriminatory and negligent treatment to which she was subjected

by the Defendants, L.H. filed a complaint with the Plaintiff regarding the Defendant’s conduct

on or about the 17th day of May, 2011.

       20. As the result of the complaint filed by L.H., the Plaintiff counseled L.H. with regards

to her housing rights and options, and it immediately initiated an investigation of this matter. In

counseling L.H. and investigating this matter, and as the result of the Defendants’ discriminatory

and negligent conduct, the Plaintiff has diverted its resources, it lost economic opportunity, and

its mission has been frustrated.



VERIFIED COMPLAINT AND                       6
DEMAND FOR JURY TRIAL                                                                   KEN NAGY
                                                                                      JESSICA MOSER
                                                                                       Attorneys at Law
          Case 4:12-cv-00645-BLW Document 1 Filed 12/31/12 Page 7 of 24




       21. On or about the 17th day of May, 2011, the Plaintiff conducted a recorded telephonic

test of the Defendants in order to determine whether there is evidence supporting the allegations

asserted by L.H. During the course of that test, the Plaintiff’s tester inquired with regards to the

availability of an apartment and was told by the Defendants that a bedroom was coming

available in the near future and was directed to contact the property manager, Andrew (last name

currently unknown).

       22. On or about the 23rd day of May, 2011, the Plaintiff conducted a second recorded

telephonic test of the Defendants by contacting Andrew, (last name currently unknown), the

Defendants’ property manager. When the Plaintiff’s tester told Andrew (last name currently

unknown) that she is disabled and needs a support animal, Andrew (last name currently

unknown) told the Plaintiff’s tester that they do not have any disabled units available. In

response, the Plaintiff’s tester told Andrew (last name currently unknown) that she does not need

a disabled unit because she does not have a physical disability but instead a mental disability.

Andrew (last name currently unknown) told the Plaintiff’s tester that they only allow support

animals if they are for a physical disability. The Plaintiff’s tester repeatedly explained to

Andrew (last name currently unknown) that the support animal is prescribed by her treating

physician for her mental disability and repeatedly requested Andrew (last name currently

unknown) to waive the rule prohibiting support animals at the Subject Property for mental

disabilities, but he refused to waive the rule and refused a dwelling to the Plaintiff’s tester.

       23. The denial of a dwelling to the Plaintiff’s tester due to the presence of her support

animal constitutes a violation of the FHA and its implementing regulations, and the Plaintiff’s

tester was denied a reasonable accommodation pursuant to the FHA.



VERIFIED COMPLAINT AND                         7
DEMAND FOR JURY TRIAL                                                                     KEN NAGY
                                                                                        JESSICA MOSER
                                                                                         Attorneys at Law
         Case 4:12-cv-00645-BLW Document 1 Filed 12/31/12 Page 8 of 24




       24. As a result of the Plaintiff’s investigation, it filed an administrative complaint with

the United States Department of Housing and Urban Development (hereinafter “HUD”) pursuant

to 42 U.S.C. §3610 dated the 1st day of June, 2011. Said administrative complaint remained

pending with HUD until the 29th dayof September, 2011, at which time it was withdrawn by the

Plaintiff in order to pursue a judicial remedy.

       25. As a result of the discriminatory and negligent conduct to which she had been

subjected by the Defendants, L.H. filed an administrative complaint with HUD pursuant to 42

U.S.C. §3610 dated the 10th day of June, 2011. Said administrative complaint currently remains

pending with HUD.

       26. Due to the ongoing nature of the Defendants’ conduct, said conduct constitutes a

continuing violation.

COUNT ONE—DISCRIMINATION ON THE BASIS OF “HANDICAP” IN VIOLATION OF
      THE FAIR HOUSING ACT AND ITS IMPLEMENTING REGULATIONS

       27. The Plaintiff realleges and herein incorporates by reference the allegations set forth

in Paragraphs 1-26 above.

       28. The Defendants have discriminated in the sale or rental of, and otherwise made

unavailable and denied, a dwelling on the basis of “handicap”. 42 U.S.C. §3604(f)(1).

       29. The Defendants have discriminated in the terms, conditions and privileges of the sale

or rental of a dwelling, and the services and facilities in connection therewith, on the basis of

“handicap”. 42 U.S.C. §3604(f)(2).

       30. The Defendants have refused to make reasonable accommodations in rules, policies,

practices, or services, when such accommodations may be necessary to afford equal opportunity

to use and enjoy a dwelling. 42 U.S.C. §3604(f)(3)(B).


VERIFIED COMPLAINT AND                        8
DEMAND FOR JURY TRIAL                                                                    KEN NAGY
                                                                                       JESSICA MOSER
                                                                                        Attorneys at Law
          Case 4:12-cv-00645-BLW Document 1 Filed 12/31/12 Page 9 of 24




        31. The Defendants made, printed or published a notice or statement with respect to the

sale or rental of a dwelling that indicates a preference, limitation or discrimination based on

“handicap”. 42 U.S.C. §3604(c).

        32. The Defendants have engaged in interference in the exercise or enjoyment of rights

granted the victims by 42 U.S.C. §§3603 and 3604. 42 U.S.C. §3617.

        33. Such conduct is willful and intentional, and exhibits reckless or callous indifference

for the rights of the victims.

                                 COUNT TWO—NEGLIGENCE

        34. The Plaintiff realleges and herein incorporates by reference the allegations set forth

in Paragraphs 1-33 above.

        35. The Defendants owed a duty of care to use reasonable care to avoid injury and to

prevent unreasonable, foreseeable risks of harm to the Plaintiff and L.H.

        36. It could have been reasonably anticipated or foreseen by the Defendants that their

failure to use reasonable care might result in injury to the Plaintiff and to L.H.

        37. The Defendants were negligent in that they failed to use reasonable care to avoid

injury and to prevent unreasonable, foreseeable risks of harm to the Plaintiff and to L.H. by

failing to adequately train and supervise its agents and employees with regards to the

requirements of the Fair Housing Act, 42 U.S.C. §3601 et seq., as well as its implementing

regulations provided at 24 C.F.R. §100 et seq.

                                            DAMAGES

        38. The Plaintiff realleges and herein incorporates by reference the allegations set forth

in Paragraphs 1-37 above.



VERIFIED COMPLAINT AND                        9
DEMAND FOR JURY TRIAL                                                                   KEN NAGY
                                                                                      JESSICA MOSER
                                                                                       Attorneys at Law
         Case 4:12-cv-00645-BLW Document 1 Filed 12/31/12 Page 10 of 24




       39. As the result of the actions and conduct of the Defendants, as described above, the

Plaintiff has suffered significant and irreparable loss and injury.

       40. The Plaintiff is an “aggrieved person[s]”, as defined in 42 U.S.C. §3601(i), and is an

intended beneficiary of the protections and requirements of the statutes, laws and regulations

referenced above.

       41. The Plaintiff has suffered actual damages as a result of its out-of-pocket expenses

and past diversion of its resources, as described above and in the attached “Appendix A”, in the

amount of $41,828.40, which continue to accrue.

       42. The Plaintiff has suffered actual damages as a result of the necessary future diversion

of its resources, as described above and in the attached “Appendix A”, in the amount of

$6,000.00.

       43. The Plaintiff has suffered actual damages as a result of lost economic opportunity, as

described above and in the attached “Appendix A”, in the amount of $1,000.00.

       44. The Plaintiff has suffered actual damages as a result of the frustration of its mission,

as described above and in the attached “Appendix A”, in the amount of $39,317.85.

       45. In addition to the injuries suffered by the Plaintiff, the Defendants have also caused

significant and irreparable loss and injury to a number of identified and as-of-yet unidentified

persons, including L.H.

       46. Said victims are “aggrieved person[s]”, as defined in 42 U.S.C. §3601(i), and are

intended beneficiaries of the protections and requirements of the statutes, laws and regulations

referenced above.

       47. All victims of the Defendants’ actions and conduct should be identified and

compensated through a Victims’ Compensation Fund.

VERIFIED COMPLAINT AND                       10
DEMAND FOR JURY TRIAL                                                                   KEN NAGY
                                                                                      JESSICA MOSER
                                                                                       Attorneys at Law
        Case 4:12-cv-00645-BLW Document 1 Filed 12/31/12 Page 11 of 24




       48. A Victims’ Compensation Fund should be established in the amount of $253,776.10

to adequately compensate identified and as-of-yet unidentified victims of the Defendants’

discriminatory conduct, as described in the attached “Appendix B”, from which such victims

should be compensated. Said Victims’ Compensation Fund should be established and

administered as follows:

           a. The Plaintiff shall be assigned the task of managing and administering the

              Victims’ Compensation Fund. The Plaintiff shall be compensated for all time

              spent administering said Fund at the rate of $45.88 per hour. The Plaintiff shall

              keep detailed records of all tasks engaged in and shall submit copies of said

              records to the Court and the Defendants on a monthly basis.

           b. Within thirty (30) days of the entry of an order by this Court creating a Victims’

              Compensation Fund, the Defendants shall deposit in an interest-bearing escrow

              account the total sum as determined by applying the calculation set forth in the

              attached Appendix B.

           c. Any interest accruing to such Victims’ Compensation Fund shall become a part of

              the fund and be utilized as set forth herein.

           d. Within fifteen (15) days after the Defendants deposit funds in the Victims’

              Compensation Fund, the Plaintiff shall publish a Notice to Potential Victims of

              Housing Discrimination (hereinafter “Notice”) in at least five daily newspapers

              serving the main population centers of the State of Idaho informing readers of the

              availability of compensatory funds. The form and content of the Notice shall be

              approved by the Court at the time of the entry of the Court’s order establishing the

              Victims’ Compensation Fund. The Notice shall be no smaller than three columns

VERIFIED COMPLAINT AND                      11
DEMAND FOR JURY TRIAL                                                                 KEN NAGY
                                                                                    JESSICA MOSER
                                                                                     Attorneys at Law
     Case 4:12-cv-00645-BLW Document 1 Filed 12/31/12 Page 12 of 24




          by six inches and shall be published on three occasions in each newspaper. The

          publication dates shall be separated from one another by at least 21 days, and at

          least two of the publication dates shall be a Sunday. The Plaintiff shall send a

          copy of the Notice prior to each and every publication date to each of the

          following organizations: (1) Living Independent Network Corp. (LINC), 1878

          Overland Road, Boise, Idaho 83705; (2) DisAbility Rights Idaho, 4477 Emerald

          Street, Suite B-100, Boise, Idaho 83706; Disability Action Center, 505 North

          Main Street, Moscow, Idaho 83843; and (3) Living Independently for Everyone

          (LIFE), P.O. Box 4185, 640 Pershing Avenue, Suite 7, Pocatello, Idaho 83201.

       e. Within thirty (30) days of the entry of an order by this Court creating a Victims’

          Compensation Fund, the Plaintiff shall send by first-class mail, postage prepaid, a

          copy of the Notice to each tenant who currently resides or who resided at any time

          at the subject property.

       f. Nothing in this section shall preclude the Plaintiff from making its own additional

          efforts at its own expense to locate and provide notice to potentially aggrieved

          persons.

       g. Allegedly aggrieved persons shall have one hundred-twenty (120) days from the

          date of the entry of an order by this Court creating a Victims’ Compensation Fund

          to contact the Plaintiff in response to the Notice. The Plaintiff shall investigate

          the claims of allegedly aggrieved persons and, within one hundred-eighty (180)

          days from the entry of an order by this Court creating a Victims’ Compensation

          Fund, shall make a preliminary determination of which persons are aggrieved and

          an appropriate amount of damages that should be paid to each such persons. The

VERIFIED COMPLAINT AND                  12
DEMAND FOR JURY TRIAL                                                               KEN NAGY
                                                                                  JESSICA MOSER
                                                                                   Attorneys at Law
     Case 4:12-cv-00645-BLW Document 1 Filed 12/31/12 Page 13 of 24




          Plaintiff will inform the Defendants in writing of its preliminary determinations,

          together with a copy of a sworn declaration from each aggrieved person setting

          forth the factual basis of the claim. The Defendants shall have fourteen (14) days

          to review the declaration and to provide to the Plaintiff any documents or

          information that it believes may refute the claim.

       h. After receiving the Defendants’ refutation, if any, the Plaintiff shall submit its

          final recommendations to the Court for approval, together with a copy of the

          declarations and any additional information submitted by the Defendants. When

          the Court issues an order approving or changing the Plaintiff’s proposed

          distribution of funds for aggrieved persons, the Defendants shall, within ten (10)

          days of the Court’s order, deliver to the Plaintiff checks payable to the aggrieved

          persons in the amounts approved by the Court. In no event shall the aggregate of

          all such checks exceed the sum of the Victims’ Compensation Fund, including

          accrued interest and after deducting compensation to the Plaintiff as described

          above. No aggrieved persons shall be paid until he or she has executed and

          delivered to counsel for the Plaintiff a signed and notarized statement releasing

          the Defendants from all claims related to the subject property.

       i. In the event that less than the total amount in the fund including interest is

          distributed to aggrieved persons, the remaining funds shall be submitted to an

          education fund to be drawn upon by the Plaintiff and other non-profit

          organizations for purposes of educating housing consumers and providers on the

          requirements of the Fair Housing Act. Said education fund shall be administered

          by Idaho Legal Aid Services, Inc.

VERIFIED COMPLAINT AND                  13
DEMAND FOR JURY TRIAL                                                               KEN NAGY
                                                                                  JESSICA MOSER
                                                                                   Attorneys at Law
         Case 4:12-cv-00645-BLW Document 1 Filed 12/31/12 Page 14 of 24




           j. The Defendants shall permit the Plaintiff, upon reasonable notice, to review any

               records that may facilitate its determinations regarding the claims of allegedly

               aggrieved persons.

       49. The Court should award to the Plaintiff and against the Defendants punitive damages

due to the intentional and willful nature of the Defendants’ conduct in an amount to be

determined by the Court.

       50. The Court should enjoin the Defendants, their officers, employees, agents,

successors, and all other persons in active concert or participation with said Defendants, from

failing or refusing to comply with all requirements of the FHA and its implementing regulations.

       51. The Court should award to the Plaintiff and against the Defendants reasonable

attorney’s fees and costs incurred in this action, as provided for by statute and court rule.

       52. The Defendants should be held jointly and severally liable for any and all damages,

including an award of attorney’s fees and costs, awarded in this proceeding.

                                      PRAYER FOR RELIEF

       WHEREFORE, the Plaintiff Intermountain Fair Housing Council prays that the Court

enter judgment against the Defendants as follows:

       A. That the Court find and declare that the actions of the Defendants constitute violations

of the Fair Housing Act;

       B. That the Court award to the Plaintiff and against the Defendants actual damages in

compensation for its out-of-pocket expenses and past diversion of resources in the amount of

$41,828.40, which continue to accrue;




VERIFIED COMPLAINT AND                       14
DEMAND FOR JURY TRIAL                                                                    KEN NAGY
                                                                                       JESSICA MOSER
                                                                                        Attorneys at Law
           Case 4:12-cv-00645-BLW Document 1 Filed 12/31/12 Page 15 of 24




       C. That the Court award to the Plaintiff and against the Defendants actual damages in

compensation for the necessary future diversion of the Plaintiff’s resources in the amount of

$6,000.00;

       D. That the Court award to the Plaintiff and against the Defendants actual damages in

compensation for the Plaintiff’s lost economic opportunity in the amount of $1,000.00;

       E. That the Court award to the Plaintiff and against the Defendants actual damages in

compensation for the frustration of the Plaintiff’s mission in the amount of $39,317.85;

       F. That the Court enter an order establishing a Victims’ Compensation Fund the amount

of $253,776.10 by applying the calculation set forth in the attached Appendix B and to be

administered according to the terms set forth in Paragraph 48 above;

       G. That the Court award to the Plaintiff and against the Defendants punitive damages

due to the reckless or callous nature of the Defendant’s conduct in an amount to be determined

by the Court;

       H. That the Court enjoin the Defendants, their officers, employees, agents, successors,

and all other persons in active concert or participation with said Defendants, from failing or

refusing to comply with all requirements of the FHA and its implementing regulations;

       I. That the Court award to the Plaintiff and against the Defendants reasonable attorney’s

fees and costs incurred in this action;

       J. That the Defendants be held jointly and severally liable for any and all damages,

including an award of attorneys fees and costs, awarded in this proceeding; and

       K. That the Court order any further and additional relief as the interests of justice may

require.



VERIFIED COMPLAINT AND                      15
DEMAND FOR JURY TRIAL                                                                  KEN NAGY
                                                                                     JESSICA MOSER
                                                                                      Attorneys at Law
         Case 4:12-cv-00645-BLW Document 1 Filed 12/31/12 Page 16 of 24




                                        JURY DEMAND

        Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, the Plaintiff demands a

trial by jury on all issues.
                    31st day of ___________________________,
        DATED this _______          December                 2012.


                                                                    /s/
                                             __________________________________________
                                             KEN NAGY
                                             Attorney for Plaintiff

                                                                    /s/
                                             __________________________________________
                                             JESSICA MOSER
                                             Attorney for Plaintiff

        ZOE ANN OLSON, being first duly sworn on his oath, deposes and says:

        I am the Executive Director of the Intermountain Fair Housing Council, Inc. the Plaintiff
herein, that I have read the foregoing document, know well the contents thereof, and that the
facts therein stated are true to the best of my knowledge and belief.

                                                               /s/
                                             __________________________________________
                                             ZOE ANN OLSON

STATE OF I D A H O    )
                      : ss
           ADA
County of ___________ )

                      Carrie Lynn House
                I, __________________________________________,         a Notary Public for said
                                        28th               December
state, does hereby certify that on the _______ day of ______________________________, 2012,
personally appeared before me ZOE ANN OLSON, Executive Director of the Intermountain Fair
Housing Council, Inc. who, being by me first duly sworn, declared that he signed the foregoing
document as such, and that the statements therein contained are true and accurate as she verily
believes.

       SEAL
     Carrie House                              /s/ (Carrie House)
                                             __________________________________________
     Notary Public                                                                  Idaho
                                             Notary Public in and for the State of ____________
     State of Idaho                                        Boise,     ID
                                             Residing at: _______________________________
                                                                         3/1/2013
                                             My commission expires: _____________________
VERIFIED COMPLAINT AND                      16
DEMAND FOR JURY TRIAL                                                                 KEN NAGY
                                                                                    JESSICA MOSER
                                                                                     Attorneys at Law
            Case 4:12-cv-00645-BLW Document 1 Filed 12/31/12 Page 17 of 24




                                           APPENDIX A:

                   PLAINTIFF IFHC’S MEMORANDUM OF DAMAGES


        The Plaintiff IFHC has identified four categories of damages that it has suffered as the

result of the Defendants’ failure to comply with the FHA. These categories are: (1) Past

Diversion of Resources; (2) Future Diversion of Resources; (3) Lost Economic Opportunity; and

(4) Frustration of Mission. Each of these categories of damages have been recognized and

awarded by various courts to organizational plaintiffs in previous fair housing cases. 1

        The following represents an itemization of the Plaintiff IFHC’s damages:

        1. Out-of-Pocket Expenses and Past Diversion of Resources

        The Plaintiff IFHC has incurred significant pre-litigation expenses as a result of the

Defendants’ discriminatory actions, which are constituted by its out-of-pocket expenses and its

past diversion of resources. The Plaintiff IFHC has sponsored training workshops in the

Defendants’ geographic area, and has engaged in site monitoring, investigation, complaint



        1
         See, Southern Cal. Housing Rights Center v. Krug, 564 F.Supp.2d 1138 (Cent. Dist. Cal.
2007) (fair housing organization awarded $6,590.80 for diversion of resources and $29,065.32
for frustration of mission), Fair Housing of Marin v. Combs, 285 F.3d 899 (9th Cir. 2002) (fair
housing organization awarded $14,217.00 for the diversion of resources); HUD v. Perland, Fair
Housing-Fair Lending Rptr. ¶25,136 (HUD ALJ 1998) (fair housing organization awarded
$4,516 for the diversion of resources and $1,400 for the costs of future monitoring of the
defendants); Ragin v. Harry Macklowe Real Estate Co., 801 F.Supp. 1213, aff’d in pertinent
part, 908 F.3d 898 (2nd Cir. 1993) (fair housing organization awarded $20,000 for the diversion
of resources); HUD v. Jancik, Fair Housing-Fair Lending Rptr. ¶25,058 (HUD ALJ 1993) (fair
housing organization awarded $13,386 for the diversion of past and future resources and $9,000
for the financial opportunity lost as a result of the investigation and litigation of the case); City of
Chicago v. Matchmaker Real Estate Sales Center, Inc., 982 F.2d 1086 (7th Cir. 1992) (fair
housing organization awarded $16,500 for out-of-pocket expenses and costs of future monitoring
and training); Saunders v. General Services Corp., 659 F.Supp. 1042 (E.D. Va. 1987) (fair
housing organization awarded $2,300 for the diversion of resources and $10,000 for the
frustration of its equal housing mission).

VERIFIED COMPLAINT AND                        17
DEMAND FOR JURY TRIAL                                                                      KEN NAGY
                                                                                         JESSICA MOSER
                                                                                          Attorneys at Law
         Case 4:12-cv-00645-BLW Document 1 Filed 12/31/12 Page 18 of 24




preparation, counseling and other activities with regards to this matter. As a result of these

activities, it has incurred expenses as follows:

       a. Investigation and Counseling Costs:                                   $7,510.55

       b. Educational efforts:                                                 $10,521.84

       c. Cost of Deferred Actions:                                            $22,796.01

       d. Litigation costs and fees (as of initiation of formal litigation):    $1,000.00

                                       Total Past Diversion of Resources:      $41,828.40
       Further litigation of these matters will result in an increase in the Plaintiff IFHC’s

diversion of resources, as well as other damages.

       2. Future Diversion of Resources

       The Plaintiff IFHC has an affirmative duty to ensure the Defendants’ ongoing compliance

with the FHA, with regards to both the subject property as well as any future developments in

which the Defendants may participate. Such monitoring activities include site visits, training of

Defendants and their employees and agents, counseling of victims, and testing.

       The Plaintiff IFHC expects to incur the following expenses as a result of the current

violations:

       a. Future Advertising Costs:                                             $500.00

       b. Cost of future training:                                             $1,000.00

       c. Costs of Future Monitoring/Testing:                                  $4,500.00

                               Total Future Diversion of Resources:            $6,000.00

       3. Lost Economic Opportunity

       Vigorous investigation and enforcement of fair housing complaints, including the

property at issue herein, has caused the Plaintiff IFHC to divert limited resources and manpower


VERIFIED COMPLAINT AND                       18
DEMAND FOR JURY TRIAL                                                                    KEN NAGY
                                                                                       JESSICA MOSER
                                                                                        Attorneys at Law
         Case 4:12-cv-00645-BLW Document 1 Filed 12/31/12 Page 19 of 24




away from grant-writing activities. The Plaintiff IFHC could reasonably expect to have obtained

funding to sponsor fair housing training events in the amount of $1,000.00 if it had not been so

diverted due to the Defendants’ actions

       a. Loss of Funding:                                                     $1,000.00

       4. Frustration of Mission

       The investigation of the subject of this complaint, the counseling and training provided to

the community, and the preparation of the administrative complaint have caused the Plaintiff

IFHC to divert significant resources toward this proceeding and has undermined the work of

furthering fair housing in the state of Idaho.

       As a direct result of the Defendants’ discriminatory actions, the Plaintiff IFHC’s mission

of furthering fair housing has been significantly frustrated, and the Plaintiff IFHC has had to

devote, and will continue to devote, additional resources in order to counteract the past and

ongoing effects of this discrimination.

       Furthermore, the property at issue in this proceeding has constituted a formidable barrier

to non-discriminatory housing, thereby undermining the mission of the Plaintiff IFHC in

guaranteeing fair housing to all residents of the state. The Plaintiff IFHC has determined that it

will be necessary to educate housing consumers regarding fair housing requirements in order to

counteract the effects of the Defendants’ failure to comply with the FHA.

       The Plaintiff IFHC measures the damage to its frustration as the total monetary damages

that the Defendants’ actions have cost to correct, including lost funding opportunities.

       a. Frustration of Mission                                             $39,317.85




VERIFIED COMPLAINT AND                           19
DEMAND FOR JURY TRIAL                                                                   KEN NAGY
                                                                                      JESSICA MOSER
                                                                                       Attorneys at Law
      Case 4:12-cv-00645-BLW Document 1 Filed 12/31/12 Page 20 of 24




                                   TOTAL DAMAGES

     The Plaintiff IFHC calculates its total damages in this proceeding as follows:

     1. Out-of Pocket Expenses and Past Diversion of Resources:          $41,828.40

     2. Future Diversion of Resources:                                    $6,000.00

     3. Lost Economic Opportunity:                                        $1,000.00

     4. Frustration of Mission:                                          $39,317.85

                                                  Total Damages:         $88,146.25




VERIFIED COMPLAINT AND                   20
DEMAND FOR JURY TRIAL                                                               KEN NAGY
                                                                                  JESSICA MOSER
                                                                                   Attorneys at Law
        Case 4:12-cv-00645-BLW Document 1 Filed 12/31/12 Page 21 of 24




                                         APPENDIX B:

                CALCULATION OF VICTIMS’ COMPENSATION FUND


       I. INTRODUCTION

       In addition to the damages incurred by the Plaintiffs, a number identified and of as-of-yet

unidentified victims have also suffered damages as the result of the Defendants’ discriminatory

actions. In furtherance of the Plaintiff IFHC’s mission, a Victims’ Compensation Fund should

be created in order to identify and obtain adequate compensation for such victims.

       The Federal District Court for the District of Idaho has frequently ordered the

establishment of a Victims’ Compensation Fund in previous actions brought pursuant to the Fair

Housing Act. See, United States of America and Intermountain Fair Housing Council v. Stealth

Investment, LLC, et al., Case No. CV 07-500-E-EJL (Consent Decree entered May 29, 2008

establishing Victims’ Compensation Fund in the amount of $12,500.00); United States of

America v. Taigen & Sons, Inc., et al., Case No. CV 01-337-N-EJL (Consent Order entered July

18, 2006 establishing Victims’ Compensation Fund in the amount of $55,000.00); United States

of America v. Thomas Development Co., et al., Case No. CV 02-68-C-EJL (Consent Order

entered March 11, 2005 establishing Victims’ Compensation Fund in the amount of

$100,000.00); United States of America v. S-Sixteen Ltd. Partnership, Case No. CV 03-154-S-

BLW (Consent Order entered March 14, 2005 establishing Victims’ Compensation Fund in the

amount of $40,000.00); United States of America v. Pacific Northwest Electric, Inc., et al., Case

No. Civil No. 01-19-S-BLW (Consent Decree entered October 21, 2003 establishing Victims’

Compensation Fund in the amount of $29,000.00); United States of America v. Virginia L.

Vanderpool, et al., Case No. CIV 01-78-S-BLW (Consent Order entered April 27, 2002

establishing Victims’ Compensation Fund in the amount of $30,000.00); United States of
VERIFIED COMPLAINT AND                   21
DEMAND FOR JURY TRIAL                                                             KEN NAGY
                                                                                     JESSICA MOSER
                                                                                      Attorneys at Law
         Case 4:12-cv-00645-BLW Document 1 Filed 12/31/12 Page 22 of 24




America, et al., v. Duane B. Hagadone, et al., Case No. CV 97-603-N-RHW (Consent Order

entered July 6, 1999 establishing Victims’ Compensation Fund in the amount of $30,000.00).

        Said orders, however, do not contain a description of how the amount of such a fund was

calculated. The Victims’ Compensation Fund that should be ordered herein should be calculated

according to the underlying principles and using the applicable figures set forth below.

        II. UNDERLYING PRINCIPLES

        A. The number of units that are owned and managed by the Defendants is 39.

        B. The number of months that the Defendants has managed property that is subject to the

requirements of the Fair Housing Act, as of the filing of this complaint, is 219.

        C. On average, each of the units could be expected to be rented to a new tenant every

twelve months.

        D. The U.S. Census Bureau Population Survey of 2000 indicates that, for the state of

Idaho, persons (age 5+) with a disability comprised 13.0% of the population.

        E. The amount of damages awarded to victims of disability discrimination in violation of

the Fair Housing Act in administrative proceedings before the United States Department of

Housing and Urban Development has been $2,500.00 or more (this is a conservative estimate on

the amount of damages that should be awarded to a victim of such discrimination, and is

therefore not intended any way to be a statement of the damages that are reasonably owing to

individual victims, which instead must be determined on a case by case basis with full

consideration of the facts of each such case).

        F. The Plaintiff IFHC is the organization best equipped and situated to administer the

fund.



VERIFIED COMPLAINT AND                       22
DEMAND FOR JURY TRIAL                                                                  KEN NAGY
                                                                                     JESSICA MOSER
                                                                                      Attorneys at Law
         Case 4:12-cv-00645-BLW Document 1 Filed 12/31/12 Page 23 of 24




       G. The Plaintiff IFHC should be compensated at its hourly overhead rate of $47.57 per

hour in the administration of the fund.

       H. The number of hours that it will take to administer the fund and complete

compensation of victims can reasonably be expected to be three hours per identified victim.

       I. Administration of the fund will result in the incursion of out-of-pocket expenses, such

as advertising and travel costs, in the amount of at least $100.00 per identified victim.

       III. CALCULATION OF AMOUNT OF VICTIMS’ COMPENSATION FUND

       The total amount of the Victims' Compensation Fund should be calculated as follows:

       1. Step One: Estimated Compensation for Victims. The amount of funds that can

reasonably be expected to be necessary to compensate victims of discrimination by the above-

named Defendants, as they become identified, should be calculated as follows:

       First, the total number of months that the above-named Defendants have owned or

managed the Subject Property is divided by the estimated average duration of tenancy in months,

and multiplied by the total number of units at the subject property. This represents the total

number of tenants or applicants at the subject property over the relevant time period. This

number can be expressed as follows:

        (219/12) X 39 = 711.75                                (1.1)



       Second, the above product is multiplied by 13.0% to determine the number who faced

discrimination based on disability:

       (711.75 X 0.130) = 92.5275                             (1.2)




VERIFIED COMPLAINT AND                       23
DEMAND FOR JURY TRIAL                                                                   KEN NAGY
                                                                                      JESSICA MOSER
                                                                                       Attorneys at Law
         Case 4:12-cv-00645-BLW Document 1 Filed 12/31/12 Page 24 of 24




       Third, the sum from equation (1.2) above is multiplied by an estimated damage award to

each Victim (which is $2,500), arriving at the total amount necessary to compensate Victims:

       92.5275 X $2,500 = $231,318.75                         (1.3)



       2. Step Two: Estimated Compensation for the Fund Administrator. The amount of funds

that can reasonably be expected to be necessary to compensate the fund administrator for work

performed in administering the Victim's Compensation Fund should be calculated as follows:

       The estimated total number of Victims (from equation 1.2, above) is multiplied by the

number of hours necessary to administer the fund per identified Victim (which is 3), times the

Plaintiff/Intervener's operational rate (which is $47.57 per hour):

       92.5275 X 3 X $47.57 = $13,204.60                      (2.1)



       3. Step Three. The amount of funds that can reasonably be expected to be necessarily

incurred by the fund administrator as out-of-pocket expenses in administering the Victims'

Compensation Fund should be calculated as follows:

       The estimated total number of Victims (from equation 1.2, above) is multiplied by the

amount that the Plaintiff/Intervener can be expected to incur in out-of-pocket costs in identifying

and compensating each identified Victim (which is $100):

       92.5275 X $100 = $9,252.75                             (3.1)



       4. Step Four. The total amount of the Victims' Compensation Fund is the amount

determined by adding the results of Step One, Step Two and Step Three, as set forth above:


     TOTAL = $231,318.75 + $13,204.60 + $9,252.75 = $253,776.10                     (4.1)
VERIFIED COMPLAINT AND              24
DEMAND FOR JURY TRIAL                                                                  KEN NAGY
                                                                                     JESSICA MOSER
                                                                                      Attorneys at Law
